              Case 2:18-cv-01582-CKJ Document 141 Filed 11/04/20 Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          MARTHILDE BRZYCKI,                                 CASE NO. C18-1582 MJP

11                                  Plaintiff,                 MINUTE ORDER

12                  v.

13          UNIVERSITY OF WASHINGTON,

14                                  Defendant.

15

16          The following minute order is made by the direction of the court, the Honorable Marsha

17   J. Pechman, United States District Judge:

18          As the Court ruled orally during the Pretrial Conference held with the Parties on October

19   29, 2020, the Court GRANTED in part and DENIED in Defendant’s Motion to strike newly

20   disclosed witnesses (Dkt. No. 134). The Court will permit the Parties to call anyone listed on the

21   Parties’ proposed pretrial order (Dkt. No. 97.) The Court will not allow any newly disclosed

22   exhibits set out in Plaintiff’s Exhibit List (Dkt. No. 136) that were not included in the Parties’

23   proposed pretrial order.

24


     MINUTE ORDER - 1
            Case 2:18-cv-01582-CKJ Document 141 Filed 11/04/20 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Filed November 4, 2020.

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                                                    William M. McCool
 4                                                  Clerk of Court

 5                                                  s/Paula McNabb
                                                    Deputy Clerk
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